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      DANIEL CARLO AND KAREN CARLO
      Our File No: 32808
      ______________________________ UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY
      IN RE:                          CASE NO. 12-15709-DHS

      NICHOLAS TARSIA
                     Debtor
      _______________________________ ADVERSARY CASE NO.

      ANTHONY CARLO, DANIEL CARLO
      AND KAREN CARLO

                        Plaintiff               COMPLAINT TO DETERMINE
      vs:                                          DISCHARGEABILITY

      NICHOLAS TARSIA

                     Defendant
      ______________________________
            Plaintiff       by   way    of   Complaint   against    the    Defendants

      herein states:

                                         FIRST COUNT
            1.   This adversary proceeding is being filed in connection

      with the defendant’s case under Chapter 7 of the United States

      Bankruptcy Code now pending in this Court.                     The Court has

      jurisdiction    over       this   adversary   proceeding      pursuant    to    28

      U.S.C. §523.      This is a core proceeding under 28 U.S.C. §157

      (b) (2) (1).

            2.   Defendant is a resident of Totowa, New Jersey.

            3.   Plaintiff recovered a judgment against Nicholas Tarsia

      on April 29, 2011 under docket No. OCN-L-812-10.                  The judgment

      was based upon breach of fiduciary duties.

            4.      Plaintiff      sustained     damages   as   a   result     of     the

      fraudulent acts of the debtor.
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            5.      Under    11   U.S.C.   §523     (a)    (2),    (4)   and   (6),    the

      obligation owed plaintiff is non-dischargeable.

            WHEREFORE, Plaintiff prays that the Court determine that

      the debt owed by debtor is non-dischargeable; that the Court

      determine      the     remaining     issues    and        render   judgment      for

      plaintiff:

            (a)     for the amount of its debt, plus interest, costs and

                    attorneys fees;

            (b)     Directing the trustee to sell the property, or so

                    much as may be necessary, and to pay out of the

                    proceeds of the property plaintiff’s judgment; and

            (c)     For such other relief as is just and equitable.

                                      SECOND COUNT

            1.    Plaintiff repeats the allegations set forth in the

      First Count as if set forth at length.

            2.    This is a core proceeding 28 U.S.C. § (b) (2) (j).

            3.      Debtor    has   failed   to     act    as    justified     under   the

      circumstances of the case.           Debtor has participated in a fraud

      by breaching his fiduciary duty to creditors in violation of 11

      U.S.C. §727.

            WHEREFORE,       Plaintiff     prays    that    the    discharge     of    the

      debtor from his debts be denied, and that Plaintiff have such

      other and further relief as is just.

                                             KATHLEEN R. WALL, ESQUIRE
                                             Attorney for Estate of Richard
                                             Mills

                                             /s/ KATHLEEN R. WALL
      DATED:     June 11, 2012
                                             _________________________
                                             KATHLEEN R. WALL, ESQUIRE
